










Opinion issued March 25, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–03–00715–CV 




YVONNE SILVA, Appellant

V.

WESTBRANCH COMMUNITY ASSOCIATION, Appellee




On Appeal from the County Civil Court at Law No. 3
Harris County, Texas
Trial Court Cause No. 744,728




MEMORANDUM OPINIONAppellant Yvonne Silva has failed to timely file a brief.  See Tex. R. App. P.
38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant Yvonne Silva did not adequately respond.  See Tex.
R. App. P. 42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Bland.


